Case 3:23-cr-00014-DJH Document 28-3 Filed 03/27/23 Page 1 of 1 PageID #: 259




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

 UNITED STATES OF AMERICA,

                               Plaintiff

 v.                                                          Case No. 3:23-CR-00014-DJH

 BRYAN DOUGLAS CONLEY,

                               Defendant.

______________________________________________________________________________

                                    ORDER
______________________________________________________________________________

       This matter is before the Court on Defendant Bryan Douglas Conley’s Motion in Limine

to Exclude Certain Text Messages. [R. 28.] The Court being sufficiently advised,

       IT IS HEREBY ORDERED as follows:

       1.      Defendant Conley’s Motion in Limine to Exclude Certain Text Messages [R. 28]

is GRANTED;

       2.      The government is hereby prohibited from introducing the text messages, or the

substance of the text messages, allegedly sent by Mr. Conley to K.C. and Elizabeth Heather

Glass; the text messages are hereby excluded from a trial in this matter.

       This the ____ day of ____________, 20___.
